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                                                                             CIVIL,CLOSED,TRANSFERRED
                                        U.S. District Court
                   Eastern District of California − Live System (Sacramento)
                    CIVIL DOCKET FOR CASE #: 2:17−cv−02206−TLN−AC

Pringle v. Gentry et al                                        Date Filed: 10/23/2017
Assigned to: District Judge Troy L. Nunley                     Date Terminated: 08/02/2018
Referred to: Magistrate Judge Allison Claire                   Jury Demand: Plaintiff
Case in other court: USCA, 18−16038                            Nature of Suit: 440 Civil Rights: Other
Cause: 42:1983 Civil Rights Act                                Jurisdiction: Federal Question
Plaintiff
Pamela Denise Pringle                           represented by Hans William Herb
                                                               Law Offices of Hans W. Herb
                                                               P.O. Box 970
                                                               Santa Rosa, CA 95402
                                                               707−576−0757
                                                               Fax: 707−575−0364
                                                               Email: hans@tankman.com
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                               Pamela Denise Pringle − "PRO SE
                                                               E−FILER"
                                                               2544 Allen Circle
                                                               Woodland, CA 95776
                                                               530−324−2730
                                                               Email: pianopam33@gmail.com
                                                               TERMINATED: 07/16/2018


V.
Defendant
Amanda Gentry                                   represented by Elisa S. Magnuson
                                                               Office Of The Idaho Attorney General
                                                               PO Box 36
                                                               Boise, ID 83722
                                                               208−334−7842
                                                               Fax: 208−334−7844
                                                               Email: elisa.magnuson@tax.idaho.gov
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

Defendant
Cindy McDonald                                  represented by Elisa S. Magnuson
                                                               (See above for address)
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

Defendant
                       Case 1:18-cv-00347-BLW Document 49 Filed 08/06/18 Page 2 of 6
Shannon Cluney                                           represented by Elisa S. Magnuson
                                                                        (See above for address)
                                                                        LEAD ATTORNEY
                                                                        ATTORNEY TO BE NOTICED

Defendant
Noel Barlow−Hust                                         represented by Elisa S. Magnuson
                                                                        (See above for address)
                                                                        LEAD ATTORNEY
                                                                        ATTORNEY TO BE NOTICED

Defendant
Sandy Jones                                              represented by Elisa S. Magnuson
                                                                        (See above for address)
                                                                        LEAD ATTORNEY
                                                                        ATTORNEY TO BE NOTICED

Defendant
Judy Mesick                                              represented by Elisa S. Magnuson
                                                                        (See above for address)
                                                                        LEAD ATTORNEY
                                                                        ATTORNEY TO BE NOTICED

Defendant
Mark Alan Kubinski                                       represented by Elisa S. Magnuson
                                                                        (See above for address)
                                                                        LEAD ATTORNEY
                                                                        ATTORNEY TO BE NOTICED


 Date Filed        #   Docket Text

 10/23/2017      Ï1    COMPLAINT against All Defendants by Pamela Denise Pringle. (Attachments: # 1 Civil Cover
                       Sheet)(Becknal, R) (Entered: 10/23/2017)

 10/23/2017      Ï2    MOTION to PROCEED IN FORMA PAUPERIS by Pamela Denise Pringle. (Becknal, R)
                       (Entered: 10/23/2017)

 10/23/2017        Ï   APPLICATION TO PROCEED IFP filed − Action Required. (Becknal, R) (Entered: 10/23/2017)

 10/30/2017      Ï3    ORDER granting 2 Motion to Proceed IFP signed by Magistrate Judge Allison Claire on 10/30/17:
                       The Clerk of the Court shall send plaintiff one USM−285, one summons, a copy of the complaint,
                       and an appropriate form for consent to trial by a magistrate judge. The Clerk of the Court is
                       directed to serve a copy of this order on the U.S. Marshal. (Kaminski, H) (Entered: 10/30/2017)

 10/30/2017      Ï4    SUMMONS ISSUED as to *Noel Barlow−Hust, Shannon Cluney, Amanda Gentry, Sandy Jones,
                       Mark Alan Kubinski, Cindy McDonald, Judy Mesick* with answer to complaint due within *21*
                       days. Attorney *Pamela Denise Pringle* *2544 Allen Circle* *Woodland, CA 95776*. (Kaminski,
                       H) (Entered: 10/30/2017)

 10/30/2017      Ï5    CIVIL NEW CASE DOCUMENTS ISSUED; Initial Scheduling Conference set for 4/11/2018 at
                       10:00 AM in Courtroom 26 (AC) before Magistrate Judge Allison Claire. (Attachments: # 1
                       Consent Form) (Kaminski, H) (Entered: 10/30/2017)
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10/30/2017     Ï    SERVICE BY MAIL: 4 Summons, 3 Order, 5 Civil New Case Documents for GEB, 1 Complaint,
                    USM−285 form, served on Pamela Denise Pringle. (Kaminski, H) (Entered: 10/30/2017)

10/31/2017    Ï6    MOTION to PARTICIPATE in E−FILING by Pamela Denise Pringle. (York, M) (Entered:
                    11/01/2017)

10/31/2017    Ï7    NOTICE OF SUBMISSION OF DOCUMENTS to USM by Pamela Denise Pringle. (York, M)
                    (Entered: 11/01/2017)

11/03/2017    Ï8    ORDER signed by Magistrate Judge Allison Claire on 11/2/17, ORDERING that plaintiff's 6 ex
                    parte request to participate in electronic filing is GRANTED. The Clerk is ordered to make the
                    necessary arrangements to allow plaintiff to participate in electronic filing for this case. (Kastilahn,
                    A) (Entered: 11/03/2017)

11/03/2017    Ï9    DECLINE to PROCEED BEFORE US MAGISTRATE JUDGE by Pamela Denise Pringle.
                    (Pringle − "PRO SE E−FILER", Pamela) Modified on 11/3/2017 (Kaminski, H). (Entered:
                    11/03/2017)

01/21/2018   Ï 10   EX PARTE MOTION for order enforcing compliance with Order Re Service by U.S. Marshal;
                    Request for Extension of time for Service of Process; Request to continue case management
                    conference by Pamela Denise Pringle. (Pringle − "PRO SE E−FILER", Pamela) Modified on
                    1/22/2018 (Mena−Sanchez, L). (Entered: 01/21/2018)

01/23/2018   Ï 11   ORDER signed by Magistrate Judge Allison Claire on 1/22/2018 DENYING 10 ex−parte motion
                    to enforce compliance with order regarding service. (Zignago, K.) (Entered: 01/23/2018)

02/08/2018   Ï 12   MOTION to DISMISS for LACK of JURISDICTION and VENUE by Noel Barlow−Hust,
                    Shannon Cluney, Amanda Gentry, Sandy Jones, Mark Alan Kubinski, Cindy McDonald, Judy
                    Mesick. Attorney Magnuson, Elisa S added. Motion Hearing set for 3/30/2018 at 09:00 AM in
                    Courtroom 10 (GEB) before District Judge Garland E. Burrell, Jr. (Attachments: # 1 Motion, # 2
                    Declaration)(Magnuson, Elisa) Modified on 2/9/2018 (Fabillaran, J). (Entered: 02/08/2018)

02/08/2018   Ï 13   MINUTE ORDER: The Motion to Dismiss, noticed for hearing before Judge Burrell on 3/30/18 is
                    VACATED. Pursuant to the Local Rules, motions in cases designated pro se are to be noticed for
                    hearing before the assigned Magistrate Judge. re 12 Motion to Dismiss/Lack of Jurisdiction,
                    Ordered by District Judge Garland E. Burrell, Jr on 2/8/18. (Furstenau, S) (Entered: 02/08/2018)

02/12/2018   Ï 14   AMENDED NOTICE OF MOTION HEARING on 12 Motion to Dismiss, by Defendants. Motion
                    Hearing SET for 3/28/2018 at 10:00 AM in Courtroom 26 (AC) before Magistrate Judge Allison
                    Claire. (Magnuson, Elisa) Modified on 2/14/2018 (Kastilahn, A). (Entered: 02/12/2018)

02/13/2018   Ï 15   SUMMONS RETURNED EXECUTED: Noel Barlow−Hust, Shannon Cluney, Sandy Jones, Mark
                    Alan Kubinski, Cindy McDonald, and Judy Mesick served on 1/19/2018, answers due 2/9/2018.
                    Amanda Gentry served on 1/24/2018, answer due 2/14/2018. (Kastilahn, A) (Entered: 02/14/2018)

02/16/2018   Ï 16   ORDER REASSIGNING CASE signed by Chief Judge Lawrence J. O'Neill: Due to the senior
                    status of District Judge *Garland E. Burrell, Jr.*, this action is reassigned to *District Judge Troy
                    L. Nunley* for all further proceedings. (Donati, J) (Entered: 02/16/2018)

03/14/2018   Ï 17   OPPOSITION by Pamela Denise Pringle to 12 Motion to Dismiss. (Pringle − "PRO SE E−FILER",
                    Pamela) (Entered: 03/14/2018)

03/14/2018   Ï 18   DECLARATION of Pamela D. Pringle in support of 17 Opposition. (Attachments: # 1 Exhibit A, #
                    2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit
                    H, # 9 Exhibit I, # 10 Exhibit J)(Pringle − "PRO SE E−FILER", Pamela) Modified on 3/15/2018
                    (Fabillaran, J). (Entered: 03/14/2018)

03/14/2018   Ï 19
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                    MOTION to VACATE 12 Motion to Dismiss Hearing and REQUEST for CONTINUANCE OF
                    STATUS CONFERENCE by Pamela Denise Pringle. (Pringle − "PRO SE E−FILER", Pamela)
                    Modified on 3/16/2018 (Fabillaran, J). Modified on 3/16/2018 (Fabillaran, J). (Entered:
                    03/15/2018)

03/15/2018   Ï 20   NOTICE OF UNCONSTITUTIONALITY by Pamela Denise Pringle. (Attachments: # 1 Exhibit
                    A)(Pringle − "PRO SE E−FILER", Pamela) Modified on 3/16/2018 (Fabillaran, J). (Entered:
                    03/15/2018)

03/15/2018   Ï 21   ORDER signed by Magistrate Judge Allison Claire on 3/15/18, ORDERING that plaintiff's 19
                    motion to vacate is DENIED. (Kastilahn, A) (Entered: 03/15/2018)

03/16/2018   Ï 22   DESIGNATION of COUNSEL FOR SERVICE. (Pringle − "PRO SE E−FILER", Pamela)
                    (Entered: 03/16/2018)

03/26/2018   Ï 23   MINUTE ORDER: (Text Only) re 5 SET/RESET HEARING. Due to the Court's schedule the
                    Initial Scheduling Conference currently set on 4/11/2018 is hereby continued to 5/9/2018 at 10:00
                    AM in Courtroom 26 (AC) before Magistrate Judge Allison Claire.(Callen, V) (Entered:
                    03/26/2018)

03/26/2018     Ï    SERVICE BY MAIL: 23 Minute Order served on. (Callen, V) (Entered: 03/26/2018)

03/26/2018   Ï 24   REPLY by Defendants to RESPONSE to 12 Motion to Dismiss. (Attachments: # 1
                    Affidavit)(Magnuson, Elisa) Modified on 3/30/2018 (Mena−Sanchez, L). (Entered: 03/26/2018)

03/26/2018   Ï 25   OBJECTIONS by Plaintiff Pamela Denise Pringle to 24 Reply to Response to Motion. (Pringle −
                    "PRO SE E−FILER", Pamela) (Entered: 03/26/2018)

03/28/2018   Ï 26   MINUTES (Text Only) for proceedings before Magistrate Judge Allison Claire: MOTION
                    HEARING held on 3/28/2018 re 12 Motion to Dismiss filed by Noel Barlow−Hust, Cindy
                    McDonald, Sandy Jones, Shannon Cluney, Mark Alan Kubinski, Judy Mesick, Amanda Gentry.
                    The matter is submitted and the court will issue a written order. Plaintiffs Counsel Pro Se via
                    Telephone present. Defendants Counsel Elisa Magnuson present. Court Reporter/CD Number:
                    Jonathan Anderson. (Callen, V) (Entered: 03/28/2018)

03/30/2018   Ï 27   ORDER and FINDINGS and RECOMMENDATIONS signed by Magistrate Judge Allison Claire
                    on 3/30/2018 DENYING as moot 25 Motion to Strike and RECOMMENDING that 12 Motion to
                    Dismiss be granted and that this action be dismissed for lack of personal jurisdiction and on the
                    grounds of forum non conveniens. Referred to District Judge Troy L. Nunley. Objections due
                    within 21 days after being served with these findings and recommendations. (York, M) (Entered:
                    03/30/2018)

04/19/2018   Ï 28   MINUTE ORDER: (Text Only) re 23 Minute Order. In light of the pending Findings and
                    Recommendations, ECF No. 27 , it is hereby ordered the Initial Scheduling Conference currently
                    set on 5/9/2018 at 10:00 a.m. is hereby VACATED from the calendar and will be re−set if it
                    becomes necessary. (Callen, V) (Entered: 04/19/2018)

04/19/2018     Ï    SERVICE BY MAIL: 28 Minute Order, served on. (Callen, V) (Entered: 04/19/2018)

04/19/2018   Ï 29   OBJECTIONS to FINDINGS and RECOMMENDATIONS 27 by Plaintiff Pamela Denise Pringle.
                    (Pringle − "PRO SE E−FILER", Pamela) (Entered: 04/19/2018)

05/02/2018   Ï 30   REPLY by Defendants re 29 Objections to Findings and Recommendations. (Magnuson, Elisa)
                    (Entered: 05/02/2018)

05/08/2018   Ï 31   ORDER signed by District Judge Troy L. Nunley on 5/7/2018 ADOPTING 27 Findings and
                    Recommendations IN PART. Defendants' 12 motion to dismiss is GRANTED IN PART and
                    Plaintiff's first, third, and fourth claims are DISMISSED for lack of personal jurisdiction. The
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                    Court REFERS this matter back to the magistrate judge for further proceedings consistent with this
                    order. (Zignago, K.) (Entered: 05/08/2018)

05/08/2018   Ï 32   MINUTE ORDER: (Text Only). In light of the order from District Judge Nunley at ECF No. 31,
                    the parties are instructed to submit supplemental briefing on the issue of whether plaintiff's second
                    cause of action should be dismissed on grounds of forum non conveniens. The matter will be heard
                    on the papers. The parties shall each submit a brief no later than May 22, 2018. Responsive briefing
                    will be due no later than May 29, 2018. An order on the issue will follow in due course." (Callen,
                    V) (Entered: 05/08/2018)

05/08/2018     Ï    SERVICE BY MAIL: 32 Minute Order,, served on. (Callen, V) (Entered: 05/08/2018)

05/20/2018   Ï 33   RESPONSE by Pamela Denise Pringle to 32 Minute Order,,. (Pringle − "PRO SE E−FILER",
                    Pamela) (Entered: 05/20/2018)

05/21/2018   Ï 34   RESPONSE by Defendants to Minute Order (ECF No. 32) . (Attachments: # 1 Affidavit of Jones, #
                    2 Affidavit of Kubinski, # 3 Affidavit of McDonald, # 4 Affidavit of Mesick)(Magnuson, Elisa)
                    Modified on 5/22/2018 (Kastilahn, A). (Entered: 05/21/2018)

05/27/2018   Ï 35   REPLY by Pamela Denise Pringle re 34 Response. (Attachments: # 1 Affidavit Pamela D.
                    Pringle)(Pringle − "PRO SE E−FILER", Pamela) (Entered: 05/27/2018)

05/29/2018   Ï 36   REPLY by Defendants to 32 Minute Order. (Attachments: # 1 Request for Judicial
                    Notice)(Magnuson, Elisa) Modified on 5/30/2018 (Kaminski, H). (Entered: 05/29/2018)

06/03/2018   Ï 37   NOTICE of APPEAL by Pamela Denise Pringle as to 31 Order Adopting Findings and
                    Recommendations. (Pringle − "PRO SE E−FILER", Pamela) Modified on 6/4/2018 (Kastilahn, A).
                    (Entered: 06/03/2018)

06/05/2018   Ï 38   APPEAL PROCESSED to Ninth Circuit re 37 Notice of Appeal filed by Pamela Denise Pringle.
                    Notice of Appeal filed *6/3/2018*, Complaint filed *10/23/2017* and Appealed Order / Judgment
                    filed *5/8/2018*. ** *Fee Status: IFP Granted on 10/30/2017* (Attachments: # 1 Appeal
                    Information) (Kastilahn, A) (Entered: 06/05/2018)

06/06/2018   Ï 39   USCA CASE NUMBER 18−16038 for 37 Notice of Appeal filed by Pamela Denise Pringle. (York,
                    M) (Entered: 06/06/2018)

06/26/2018   Ï 40   ORDER of USCA as to 37 Notice of Appeal filed by Pamela Denise Pringle; This appeal is
                    DISMISSED for lack of jurisdiction. (Hunt, G) (Entered: 06/27/2018)

06/27/2018   Ï 41   ORDER to SHOW CAUSE signed by Magistrate Judge Allison Claire on 6/27/18: The parties are
                    each ORDERED TO SHOW CAUSE, within 14 days, why this case should not be transferred to
                    the District of Idaho pursuant to 28 U.S.C. § 1404. (Kaminski, H) (Entered: 06/27/2018)

07/10/2018   Ï 42   OPPOSITION to Transfer re 41 ORDER to SHOW CAUSE by Pamela Denise Pringle. (Pringle −
                    "PRO SE E−FILER", Pamela) Modified on 7/26/2018 (Benson, A.). (Entered: 07/10/2018)

07/11/2018   Ï 43   MEMORANDUM in Support of Transfer by Noel Barlow−Hust, et al., per 41 Order to Show
                    Cause. (Magnuson, Elisa) Modified on 7/12/2018 (Reader, L). (Entered: 07/11/2018)

07/13/2018   Ï 44   NOTICE of APPEARANCE of attorney Hans William Herb for plaintiff Pamela Denise Pringle −
                    "PRO SE E−FILER" on behalf of Pamela Denise Pringle. (Pringle − "PRO SE E−FILER", Pamela)
                    (Entered: 07/13/2018)

07/16/2018   Ï 45   ORDER signed by Magistrate Judge Allison Claire on 7/16/18: All dates pending before the
                    undersigned are VACATED. The Motion for to Dismiss for Lack of Jurisdiction 12 is now pending
                    before the District Judge assigned to this action. Going forward, the parties shall conduct pretrial
                    matters, other than discovery motions, before the District Judge assigned to this action. Discovery
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                    motions remain referred to the magistrate judge. This matter is REFERRED back to the District
                    Judge assigned to this action. (Kaminski, H) (Entered: 07/16/2018)

07/19/2018   Ï 46   USCA MANDATE as to 37 Notice of Appeal filed by Pamela Denise Pringle. (Zignago, K.)
                    (Entered: 07/19/2018)

08/01/2018   Ï 47   NOTICE of RELATED CASE 2:18−cv−02035 by Pamela Denise Pringle. (Herb, Hans) (Entered:
                    08/01/2018)

08/02/2018   Ï 48   ORDER signed by District Judge Troy L. Nunley on 8/2/2018 ORDERING this case
                    TRANSFERRED to the District of Idaho. CASE CLOSED. (Zignago, K.) (Entered: 08/02/2018)
